 Case 2:16-ap-01337-ER               Doc 102 Filed 07/05/17 Entered 07/05/17 17:52:19        Desc
                                      Main Document    Page 1 of 21


 1   JEREMY V. RICHARDS (CA SBN 102300)
     GAIL S. GREENWOOD (CA SBN 169939)
 2   PACHULSKI STANG ZIEHL & JONES LLP
     10100 Santa Monica Blvd., 13th Floor
 3   Los Angeles, CA 90067
     Telephone: 310/277-6910
 4   Facsimile: 310/201-0760
     E-mail: jrichards@pszjlaw.com
 5            ggreenwood@pszjlaw.com

 6   Attorneys for Official Committee of Unsecured Creditors
     of Liberty Asset Management Corporation
 7
     LAW OFFICES OF STEPHEN R. WADE
 8   STEPHEN R. WADE (CA SBN 79219)
     405 N. Indian Hill Blvd.
 9   Claremont, CA 91711
     Phone: 909-985-6500
10   Fax: 909-399-9900

11   Attorneys for Defendant Lucy Gao

12                                    UNITED STATES BANKRUPTCY COURT

13                                     CENTRAL DISTRICT OF CALIFORNIA

14                                             LOS ANGELES DIVISION

15   In re:                                                  Case No.: 2:16-bk-13575-ER

16   LIBERTY ASSET MANAGEMENT                                Chapter 11
     CORPORATION, a California corporation,
17                                                           Adv. No. 2:16-ap-01337-ER
                                 Debtor and
18                               Debtor in Possession.       JOINT PRETRIAL STIPULATION
                                                             DEFENDNT LUCY GAO
19
     OFFICIAL UNSECURED CREDITORS                            Pretrial Conference:
20   COMMITTEE FOR LIBERTY ASSET                             Date: July 11, 2017
     MANAGEMENT CORPORATION,                                 Time: 11:00 a.m.
21
                                 Plaintiff,                  Trial
22                                                           Date: August 2-4, 2017
                   vs.                                       Time: 9:00 a.m.
23                                                           Place: Courtroom 1568
     LUCY GAO, an individual, and BENJAMIN                          255 E. Temple Street
24   KIRK, an individual,                                           Los Angeles, CA 90012
                                                             Judge: Ernest M. Robles
25                               Defendants.

26

27            The Official Committee of Unsecured Creditors (the “Committee”) of Liberty Asset

28   Management Corporation (the “Debtor” or “Liberty”), in its capacity as plaintiff pursuant to a

                                                         1
     DOCS_SF:94316.2 52593/002
 Case 2:16-ap-01337-ER           Doc 102 Filed 07/05/17 Entered 07/05/17 17:52:19                 Desc
                                  Main Document    Page 2 of 21


 1   stipulation with the Debtor granting standing, and Lucy Gao (“Gao”) and Benjamin Kirk (“Kirk”)

 2   (collectively the “Defendants”), submit the following Pretrial Stipulation pursuant to Local

 3   Bankruptcy Rule 7016-1(b), and represent as follows:

 4
               A.      The Following Facts Are Admitted and Require No Proof:
 5
               1.      The Committee’s Exhibit 1 is a true and correct copy of the Court’s Order Granting
 6
     the Official Committee of Unsecured Creditors’ Motion for Summary Adjudication of Defendants’
 7
     Liability for Breach of Fiduciary Duties and Accounting [Docket No. 58] entered January 25, 2017.
 8
               2.      The Committee’s Exhibit 2 is a true and correct copy of the Court’s Findings of Fact
 9
     and Conclusions of Law Regarding the Offiicial Committee of Unsecured Creditors’ Motion for
10
     Summary Adjudication of Defendants’ Liability for Breach of Fiduciary Duties and Accounting
11
     [Docket No. 57] entered January 25, 2017.
12
               3.      The scheduled trial is limited to the issue of alleged damages suffered by the Debtor
13
     as a result of the Defendants’ diversion of assets and the Defendants’ inability to account for such
14
     assets.
15
               4.      Gao met Kirk in 2000 and they share a child, Joyce Kirk, born April 22, 2004. They
16
     terminated their personal relationship at least by May 2014.
17
               The Debtor’s Business Model.
18
               5.      A portion of the Debtor’s business was as a real estate investment company that
19
     bought and sold real property using a combination of its own cash, cash from investors, and bank
20
     loans. Real property acquired by the Debtor was not titled in the name of the Debtor or its investors,
21
     and instead was purchased in the name of various limited liability companies.
22
               6.      At all times since its formation, Kirk was and is the President, CEO, CFO, and sole
23
     shareholder of the Debtor.
24
               7.      Kirk’s primary role was soliciting investors for the Debtor, and identifying real
25
     properties for purchase and sale.
26
               8.      Typically, the Debtor entered a contract with an investor (each, an “Investment
27
     Contract”) to purchase a specific parcel of real estate, and the investor would wire money to a
28

                                                     2
     DOCS_SF:94316.2 52593/002
 Case 2:16-ap-01337-ER           Doc 102 Filed 07/05/17 Entered 07/05/17 17:52:19                 Desc
                                  Main Document    Page 3 of 21


 1   designated escrow. Pursuant to the Investment Contract, the investor was obligated to wire a sum of

 2   money and the Debtor was obligated to purchase the designated real property.

 3            9.       The Committee’s Exhibit 3 is a true and correct copy of an Investment Contract

 4   entitled, Disclosure Acknowledgment and Commitment to Purchase and Sell Distressed Asset Real

 5   Estate Agreement, effective October 31, 2012 between the Debtor and an investor, Union Square

 6   Disney Project LLC.

 7            10.      If the Debtor could not complete the purchase of designated real property, the Debtor

 8   and investor would cancel the Investment Contract and either agree to refund the investor’s deposit,

 9   or to maintain those funds on deposit as a credit for future investments by the investor.

10            11.      The Committee’s Exhibit 4 is a true and correct copy of an agreement entitled,

11   Cancellation of Disclosure Acknowledgment and Commitment to Purchase and Sell Real Estate

12   Assets Agreement and Release of Deposit (“Cancellation Agreement”), effective as of March 26,

13   2015 between the Debtor and Union Square Disney Project LLC.

14            The Debtor’s Operations.

15            12.      As Chief Financial Officer, Kirk was responsible for the finances of the Debtor.

16            13.      Kirk never caused to be prepared or reviewed any quarterly or annual financials of the

17   Debtor. to determine whether the Debtor was making or losing money.

18            14.      Gao denies that she handled the Debtor’s financial matters. Gao contends that her job

19   was mostly signing checks and applying for loans on behalf of the Debtor at the instruction of Kirk.

20            15.      In the course of its business, the Debtor formed limited liability companies (referred

21   to herein as “Investment Entities”) to acquire and hold assets, including real properties for the

22   benefit of the Debtor and/or its investors.

23            16.      The membership interest(s) in certain of the Investment Entities were vested in Gao’s

24   name. The stated reason for so doing was in order that Gao could qualify for loans for each such

25   investment based upon her “good credit.”

26            17.      Gao was the sole and/or managing member of the following Investment Entities at

27   various times prior to the bankruptcy: HK Grace Building LLC, Strong Water Capital Management

28   LLC, Coastline Investments LLC, Diamond Waterfalls LLC, Atherton Financial Building LLC,

                                                    3
     DOCS_SF:94316.2 52593/002
 Case 2:16-ap-01337-ER           Doc 102 Filed 07/05/17 Entered 07/05/17 17:52:19                 Desc
                                  Main Document    Page 4 of 21


 1   Pacific View REO Management LLC, FACDC Azusa LLC, 1595 17th Street LLC, and 544 San

 2   Antonio Road LLC.

 3            18.      Gao executed certain personal financial statements, under penalty of perjury, in which

 4   she represented that certain of the assets of the Investment Entities belonged to her. Gao contends

 5   that she signed these personal financial statements at the instruction of Kirk and for the purpose of

 6   allowing her to qualify for loans to acquire real properties.

 7            19.      The Committee’s Exhibit 5 consists of true and correct copies of personal financial

 8   statements signed by Gao in 2013, 2014, and 2015.

 9            20.      In the course of its business the Debtor formed certain escrow companies so that the

10   Debtor could handle the closing of certain transactions. The Debtor’s internal escrow companies

11   include the following: American Heritage Escrow Services Corporation, Diamond Point Real Estate

12   Corporation d/b/a Skyline Escrow Services, Gold View Horizon LLC d/b/a Horizon Escrow

13   Services, New Life Real Estate Corporation d/b/a Vista Escrow Services and d/b/a Shoreline Escrow

14   Services.

15            21.      The Debtor also used the services of a single outside escrow company, Sincere

16   Escrow, an entity owned by Margaret Chiu.

17            22.      The Committee’s Exhibit 6 consists of true and correct copies of a series of contracts

18   attached to Proof of Claim No. 21-1 filed by Huesing Holdings LLC, which comprise certain short

19   term loans to the Debtor.

20            Reckless Investments by the Debtor.

21                     (a) Forfeited Deposits

22            23.      In some instances, the Debtor increased its purchase deposit in consideration for an

23   extension of time to close a particular real estate transaction.

24            24.      The Committee’s Exhibit 7 consists of spreadsheets reflecting a “Total Loss” (“Loss

25   Notes”) maintained among the Debtor’s books and records.

26            25.      Kirk has testified that the Loss Notes reflect the amount of deposits lost on each

27   designated transaction.

28

                                                     4
     DOCS_SF:94316.2 52593/002
 Case 2:16-ap-01337-ER           Doc 102 Filed 07/05/17 Entered 07/05/17 17:52:19              Desc
                                  Main Document    Page 5 of 21


 1             26.     By the end of 2011, the Debtor forfeited approximately $7 million deposited into

 2   escrow in an attempt to purchase 10 United Nations Plaza in San Francisco, which transaction never

 3   closed.

 4             27.     In 2013, the Debtor forfeited approximately $2 million deposited in escrow in an

 5   attempt to purchase an office building at 540-550 Montgomery Street in San Francisco.

 6                     (b) Hedge Fund Investment

 7             28.     On or about June 21, 2013, the Debtor, through Strong Water Capital Management

 8   LLC, invested $5 million in the purchase of an 11 percent interest in a hedge fund named Foundation

 9   Managing Member LLC.

10             29.     Foundation Managing Member LLC invested in distressed assets, and Kirk and Gao

11   intended for investment in the hedge fund to expand the Debtor’s distressed assets business.

12             30.     Gao instructed the owner of Sincere Escrow to wire $5 million from Escrow No.

13   013778-MC ($4.5 million to an account of Foundation Managing Member LLC; and $500,000 to an

14   account of Dean and Allison Barr) for investment in Foundation Managing Member LLC.

15             31.     The Committee’s Exhibit 8 is a true and correct copy of an email from Gao to

16   Margaret Chiu/ Sincere Escrow, including wire instructions, dated June 21, 2013.

17             32.     Escrow No. 013778-MC was an escrow account established at Sincere Escrow for the

18   purchase of property at 540-550 Montgomery Street in San Francisco. Sincere Escrow received $12

19   million from the Debtor’s investor, Anson Well International Ltd., which was used to purchase an

20   interest in Foundation Managing Member LLC.

21             33.     The Committee’s Exhibit 9 is a true and correct copy of Sincere Escrow’s receipt and

22   disbursement log dated July 10, 2013 relating to Escrow No. 013778-MC.

23             34.     Foundation Managing Member LLC subsequently failed.

24             Pledge of the Debtor’s Properties for the Benefit of Gao.

25             35.     On or about October 2, 2012, Gao on behalf of East Heights LLC and Green Oak

26   Asset Management LLC encumbered four real properties located at (a) 1001 East Road, La Habra,

27   CA, (b) 3808 Hollins, Claremont, CA, (c) 409 Avenida Santa Barbara #D, San Clemente, CA, and (d)

28

                                                    5
     DOCS_SF:94316.2 52593/002
 Case 2:16-ap-01337-ER           Doc 102 Filed 07/05/17 Entered 07/05/17 17:52:19              Desc
                                  Main Document    Page 6 of 21


 1   413 Avenida Santa Barbara #B, San Clemente, CA, by deeds of trust in favor of Shanghai

 2   Commercial Bank, securing a loan in the principal amount of $2.88 million.

 3            36.      The Committee’s Exhibit 10 consists of true and correct copies of Deeds of Trust

 4   dated October 2, 2012, signed by Gao on behalf of East Heights LLC and Green Oak Asset

 5   Management LLC in favor of Shanghai Commercial Bank.

 6            37.      The Committee’s Exhibit 11 is a true and correct copy of the Grant Deed recorded

 7   February 28, 2014 transferring property at 413 Avenida Santa Barbara #B, San Clemente, CA, from

 8   Gao on behalf of Green Oak Asset Management LLC in favor of a third party, the Clifford and

 9   Gerrie Mehling Family Trust.

10            38.      On or about October 22, 2015, Gao on behalf of Green Oak Asset Management LLC

11   entered a modification agreement with Shanghai Commercial Bank, such that the deed of trust on

12   property at 409 Avenida Santa Barbara #D, San Clemente, CA secures the principal amount of $1.68

13   million.

14            39.      The Committee’s Exhibit 12 is a true and correct copy of a Deed of Trust dated

15   October 22, 2015, signed by Gao on behalf of Green Oak Asset Management LLC in favor of

16   Shanghai Commercial Bank.

17            40.      The loan from Shanghai Commercial Bank remains outstanding and continues to

18   encumber the real properties described in paragraph 35 (a)-(c), above.

19            Payments to Gao from the Sale of 166 Geary

20            41.      HK Grace Building LLC held title to real property located at 166 Geary Street in San

21   Francisco (the “Geary Property”). Under the terms of an Operating Agreement dated November

22   2011, Gao was the sole manager and member of HK Grace Building LLC.

23            42.      Under the terms of an Operating Agreement dated August 2012, the members of HK

24   Grace Building LLC were Sunshine Valley LLC and JD Brother LLC. Under that Operating

25   Agreement, Vanessa Van Holland was the sole manager of HK Grace Building LLC.

26            43.      On or about November 17, 2014, HK Grace Building LLC sold the Geary Property

27   for a purchase price of $60 million. Net proceeds of approximately $26 million from the sale of the

28   Geary Property were deposited to an account in the name of HK Grace Building LLC.

                                                   6
     DOCS_SF:94316.2 52593/002
 Case 2:16-ap-01337-ER           Doc 102 Filed 07/05/17 Entered 07/05/17 17:52:19              Desc
                                  Main Document    Page 7 of 21


 1            44.      On November 17, 2014, Gao caused Huntington Giant Capital Corporation to submit

 2   an invoice for payment of $1.8 million to HK Grace Building LLC, which was paid from the sale

 3   proceeds of the Geary Property to an account in the name of Huntington Giant Capital Corporation.

 4   The Committee’s Exhibit 13 consists of true and correct copies of the Seller’s Final Closing

 5   Statement dated November 17, 2014, and a check payable to Huntington Giant Capital Corporation.

 6            45.      On November 18, 2014, one day after the sale of the Geary Property, Gao paid a

 7   check to herself in the amount of $8.5 million. Gao contends, and Kirk disputes, that Kirk instructed

 8   the money to be deposited to a joint account. The Committee’s Exhibit 14, below, includes a true

 9   and correct copy of a check payable to Gao in the amount of $8.5 million from HK Grace Building

10   LLC.

11            Payments to Gao from the Debtor and its Investment Entities.

12            46.      The Committee’s Exhibit 14 consists of copies of checks signed and received by

13   Gao.

14            47.      Between December 2012 and May 2014, Kirk wrote checks payable to Gao from

15   accounts of the Debtor and one of its Investment Entities in the amount of $60,000. The

16   Committee’s Exhibit 15 consists of true and correct copies of checks signed by Kirk and payable to

17   Gao.

18            48.      The Committee’s Exhibit 16 consists of copies of checks payable to Gao from

19   accounts of the Debtor and certain Investment Entities.

20            49.      The Committee’s Exhibit 17 consists of copies of checks payable to Gao from an

21   account of 88 San Fernando LLC.

22            Bankruptcies of Investment Entities and Equity Payments.

23            50.      Beginning in 2014, Kirk initiated the following bankruptcies on behalf of Investment

24   Entities:

25                        In re Diamond Waterfalls LLC (USBC, Central Dist., Case No. 14-13030) (Judge
                           Neiter)
26
                          In re Coastline Investments LLC (USBC, Central Dist., Case No. 14-27223 jointly
27                         administered with Case No. 14-13030) (Judge Neiter)

28                        In re Atherton Financial Building LLC (USBC, Central Dist., Case No. 14-27223)
                           (Judge Donovan);
                                                    7
     DOCS_SF:94316.2 52593/002
 Case 2:16-ap-01337-ER           Doc 102 Filed 07/05/17 Entered 07/05/17 17:52:19              Desc
                                  Main Document    Page 8 of 21


 1                        In re Gold River Valley, LLC (USBC, Central Dist., Case No. 15-10691) (Judge
                           Donovan)
 2
                          In re 544 San Antonio Road LLC (USBC, Central Dist., Case No. 15-13570)
 3                         (Judge Donovan) (DISMISSED)

 4                        In re Washe, LLC (USBC, Central Dist., Case No. 15-13835) (Judge Kaufman)
                           (DISMISSED)
 5
              51.      The principal assets of Diamond Waterfalls LLC and Coastline Investments LLC
 6
     consisted of hotels (“Hotels”) located in Pomona, California, which were sold in bankruptcy for total
 7
     consideration of $19.5 million. The Committee’s Exhibit 18 is a true and correct copy of the
 8
     Seller’s Final Settlement Statement dated September 2, 2014 pertaining to sale of the Hotels.
 9
              52.      On or about May 7, 2015, Kirk, Gao, the disclosed owners of Atherton Financial
10
     Building LLC, and Bank SinoPac entered a stipulation (the “SinoPac Stipulation”). The
11
     Committee’s Exhibit 19 is a true and correct copy of the SinoPac Stipulation dated May 7, 2015.
12
              53.      The Court approved the SinoPac Stipulation and entered an order thereon (the
13
     “SinoPac Order”). On June 11, 2015, pursuant to the SinoPac Order, counsel wired $1.5 million to
14
     Bank SinoPac.
15
              54.      On June 12, 2015, counsel wired the remaining net proceeds for Atherton Financial
16
     Building LLC in the amount of $1,623,756.29 to an account in the name of Atherton Financial
17
     Building LLC maintained at Cathay Bank.
18
              Payments to Ho from the Debtor on account of “Profits.”
19
              55.      On or about October 17, 2009, Kirk on behalf of the Debtor and Shelby Ho (“Ho”) on
20
     behalf of Great Vista Real Estate Corporation entered a Profit Sharing Agreement, pursuant to which
21
     the Debtor agreed to share profits 50/50 based on the purchase and sale of real properties in
22
     exchange for Ho’s services introducing investors and otherwise marketing the real properties.
23
              56.      The Committee’s Exhibit 20 is a true and correct copy of the Profit Sharing
24
     Agreement dated October 17, 2009 between the Debtor and Great Vista Real Estate Corporation.
25
              57.      Ho acknowledges receipt of $1,771,900 for profits/commissions between December
26
     2009 and February 2011.
27

28

                                                   8
     DOCS_SF:94316.2 52593/002
 Case 2:16-ap-01337-ER              Doc 102 Filed 07/05/17 Entered 07/05/17 17:52:19               Desc
                                     Main Document    Page 9 of 21


 1             58.     In and after February 2011, Ho received wire payments from Liberty or its internal

 2   escrow companies in the aggregate amount of $3.1 million. Ho contends that these amounts were

 3   not profits/commissions and, instead, constituted repayments of loans extended by Ho or her friends

 4   for the benefit of the Debtor.

 5             59.     The Committee’s Exhibit 21 consists of a spreadsheet maintained among the

 6   Debtor’s books and records identifying purported commissions to Ho, and wire transfer receipts for

 7   transfers to Ho from February 2011 through December 2012.

 8             60.     After February 2011, Ho contends that the Debtor did not have sufficient cash to pay

 9   her profits/commissions so Ho agreed to accept real property interests as payment for her

10   profits/commissions.

11             61.     In or about July 2012, Ho received membership in the Investment Entity (SJ 10177

12   LLC) that held title to 126 Atherton Avenue in Atherton. In or about July 2015, Ho received

13   membership in the Investment Entity (NC Project Management LLC) that held title to two

14   condominiums at 88 E. San Fernando in San Jose.

15             B.      The Following Issues of Fact, and No Others, Remain to Be Litigated:

16             1.      The amount of damages caused by Kirk arising from his breach of fiduciary duties to

17   the Debtor and failure to account for assets of the Debtor.

18             2.      The amount of damages caused by Gao arising from her diversion of assets of the

19   Debtor and failure to account for assets of the Debtor.

20             3.      Additional disputed issues of fact pertaining to damages caused by Kirk and/or Gao

21   include the following:

22                     a.        As of March 2015, when the Debtor entered a Cancellation Agreement with

23   Union Square Disney Project LLC, did the Debtor have $6 million cash available to return to the

24   investor?

25                     b.        Did Kirk ever make a determination based on the Debtor’s financials whether

26   the Debtor was making or losing money?

27                     c.        Whether Kirk delegated responsibility for all financial matters of the Debtor

28   to Gao.

                                                       9
     DOCS_SF:94316.2 52593/002
 Case 2:16-ap-01337-ER              Doc 102 Filed 07/05/17 Entered 07/05/17 17:52:19               Desc
                                     Main Document    Page 10 of 21


 1                     d.        Whether Gao was vested with the membership interest(s) in certain of the

 2   Investment Entities for the stated reason of posting personal guarantees.

 3                     e.        Whether Margaret Chiu of Sincere Escrow followed the directions of the

 4   Debtor’s agents by disbursing funds from investor escrows.

 5                     f.        Although Investment Contracts identified specific assets that investor funds

 6   were to be used to purchase, were investor funds always, or almost always, swept by Liberty from

 7   the internal and external escrows and used for purposes other than those stipulated in the Investment

 8   Contract.

 9                     g.        Whether, for example, Faith Hope International, Ltd. invested $12 million to

10   purchase real property located at 540-550 Montgomery, and Smart Gear Development Ltd. invested

11   $6 million to purchase real property located at 39 Stockton, a sum that remains outstanding for

12   transactions that did not close. And whether Remy Associates invested approximately $8.5 million

13   to purchase real properties, including at 175 Stone Pine Lane and 650-52 Lake Avenue, an amount

14   that remains outstanding for transactions that closed in favor of other entities.

15                     h.        Whether Kirk believes that the profit margin available from buying and

16   selling properties disappeared around 2012.

17                     i.        Whether beginning in October 2013, the Debtor borrowed money from an

18   investor, Huesing Holdings LLC (“Huesing”), to maintain its cash flow. The borrowing totaled

19   approximately $6 million in short term loans between about September of 2013 and October of

20   2014, which loans were repeatedly extended and never repaid. The loans from Huesing purported to

21   accrue interest at an annual rate of 15% per annum, and by October of 2014, Liberty purportedly

22   owed Huesing approximately $10.7 million.

23                     j.        Whether Kirk had any plan regarding how the loans from Huesing would be

24   repaid.

25                     k.        Whether funds paid to the Debtor by its investors were dissipated by, or at the

26   direction of, Kirk and Gao. Neither the Debtor, Kirk nor Gao have accounted for, or can account

27   for, the loss of these funds.

28

                                                      10
     DOCS_SF:94316.2 52593/002
 Case 2:16-ap-01337-ER              Doc 102 Filed 07/05/17 Entered 07/05/17 17:52:19              Desc
                                     Main Document    Page 11 of 21


 1                     l.        Whether the Debtor entered into numerous transactions for the purchase of

 2   real estate without the ability to close the transactions, which resulted in the repeated forfeiture of

 3   substantial non refundable deposits. In each instance, the Debtor committed to purchase property

 4   with a combination of cash and loans, with no reasonable expectation that it would be able to obtain

 5   the necessary balance of funds by selling another property or receiving additional funds from

 6   investors. The Debtor lost deposits when it was unable to fund the balance of the purchase price.

 7                     m.        Whether between 2011 and 2013, Liberty lost approximately $21 million

 8   based on forfeited deposits.

 9                     n.        Whether by early 2014, the Debtor lost approximately $6 million of a non-

10   refundable deposit paid in an attempt to purchase property at 600 Wilshire in downtown Los

11   Angeles.

12                     o.        Whether Kirk performed any due diligence with respect to the Debtor’s

13   investment in Foundation Managing Member LLC.

14                     p.        Whether Kirk could be certain, not having seen any financials, that the Debtor

15   had sufficient cash of its own to invest above amounts that were already due to creditors.

16                     q.        Whether proceeds of the $2.88 million loan from Shanghai Commercial Bank

17   were utilized by Gao for the benefit of the Debtor.

18                     r.        Whether the loan from Shanghai Commercial Bank was made to Gao,

19   individually.

20                     s.        Whether an account in the name of Huntington Giant Capital Corporation

21   maintained at Mega Bank was controlled by Gao.

22                     t.        Whether funds deposited to the account of Huntington Giant Capital

23   Corporation from the sale of the Geary Property were utilized for the benefit of the Debtor.

24                     u.        Whether funds in the amount of $8.5 million paid from HK Grace Building

25   LLC to Gao were utilized by Gao for the benefit of the Debtor.

26                     v.        Whether between February 2012 and December 2014, Gao wrote checks

27   payable to herself from accounts of the Debtor and its Investment Entities in the amount of

28   $14,564,972.

                                                      11
     DOCS_SF:94316.2 52593/002
 Case 2:16-ap-01337-ER              Doc 102 Filed 07/05/17 Entered 07/05/17 17:52:19               Desc
                                     Main Document    Page 12 of 21


 1                     w.        Whether between July 2012 and June 3, 2014, Gao wrote additional checks to

 2   herself from accounts of the Debtor and its Investment Entities in the amount of $3,352,874.

 3                     x.        Whether between September 2012 and November 2012, Gao received

 4   additional checks from an account purporting to belong to 88 San Fernando LLC in the amount of

 5   $2,206,000.

 6                     y.        Whether all funds paid to, or received by, Gao were used for the benefit of the

 7   Debtor and/or its Investment Entities.

 8                     z.        Whether on September 30 and October 16, 2014, counsel wired net proceeds

 9   from the Hotels to Gao in the amounts of $2.6 million and $150,000, for a total of $2.75 million

10   returned to Gao as equity from Diamond Waterfalls LLC and Coastline Investments LLC.

11                     aa.       Whether the principal asset of Atherton Financial Building LLC was a

12   commercial building located in Menlo Park, California. The Statement of Financial Affairs for

13   Atherton Financial Building LLC asserts ownership as follows: 20% owned by American REO

14   Solutions LLC, 40% owned by Great Vista Real Estate Investment Corp., 20% owned by

15   Washington Capital Management LLC, and 20% owned by Sunshine Valley LLC whose managing

16   member was Kirk.

17                     bb.       Whether during the course of the Atherton Financial Building LLC

18   bankruptcy, the Court authorized the sale of the commercial building for $14.3 million and required

19   that net proceeds of the sale (after making certain authorized payments) be held by the debtor’s

20   counsel.

21                     cc.       Whether payment of $1.5 million to Bank SinoPac pursuant to the SinoPac

22   Stipulation was on account of a state court judgment against Gao.

23                     dd.       Whether an account in the name of Atherton Financial Building LLC

24   maintained at Cathay Bank was controlled by Gao.

25            C.       The Following Issues of Law, and Not Others, Remain to Be Litigated:

26            1.       Whether the appropriate calculation of damages for the Defendants’ breach of

27   fiduciary duties consists of direct losses suffered by the Debtor, including unrecoverable losses from

28

                                                      12
     DOCS_SF:94316.2 52593/002
 Case 2:16-ap-01337-ER               Doc 102 Filed 07/05/17 Entered 07/05/17 17:52:19          Desc
                                      Main Document    Page 13 of 21


 1   reckless investments, pledges of property for the benefit of Gao, and direct payments to Gao and

 2   others.

 3             2.      Whether the appropriate calculation of damages for the Defendants’ failure to account

 4   consists of the allowed claims against the Debtor, limited to principal amounts advanced to Debtor,

 5   less the creditors’ net recovery.

 6             D.      Attached Is a List of Exhibits Intended to Be Offered at the Trial By
                       Each of the Parties, Other Than Exhibits to Be Used For Impeachment
 7                     Only. The Parties Have Exchanged Copies of All Exhibits.
 8             See attached lists.

 9             E.      The Parties Have Exchanged a List of Witnesses to Be Called at Trial.

10             See attached lists.

11             F.      Other Matters That Might Affect Trial.

12             G.      All Discovery Is Complete.

13             H.      The Parties Are Ready for Trial.

14             I.      The Estimated Length of Trial Is Three Days.

15             J.      The Foregoing Admissions Have Been Made by the Parties, and the
                       Parties Have Specified the Foregoing Issues of Fact and Law Remaining
16                     to Be Litigated. Therefore, This Order Supersedes the Pleadings and
                       Governs the Course of Trial of This Cause, Unless Modified to Prevent
17                     Manifest Injustice.
18

19

20

21

22

23

24

25

26

27

28

                                                    13
     DOCS_SF:94316.2 52593/002
 Case 2:16-ap-01337-ER           Doc 102 Filed 07/05/17 Entered 07/05/17 17:52:19         Desc
                                  Main Document    Page 14 of 21


 1   Dated: June 27, 2017                       PACHULSKI STANG ZIEHL & JONES LLP

 2
                                                By:
 3                                                               Jeremy V. Richards
                                                                 Gail S. Greenwood
 4
                                                      Attorneys for Official Committee of Unsecured
 5                                                    Creditors of Liberty Asset Management
 6                                                    Corporation

 7

 8   Dated: July 5, 2017                        LAW OFFICES OF STEPHEN R. WADE, P.C.

 9
                                                By:            /s/ Stephen R. Wade
10                                                               Stephen R. Wade
11                                                    Attorney for Lucy Gao
12

13   Dated: June __, 2017
14
                                                By:
15                                                               Benjamin Kirk
16                                                    In Propria Persona
17

18

19

20

21

22

23

24

25

26

27

28

                                               14
     DOCS_SF:94316.2 52593/002
 Case 2:16-ap-01337-ER           Doc 102 Filed 07/05/17 Entered 07/05/17 17:52:19   Desc
                                  Main Document    Page 15 of 21


 1                                   THE COMMITTEE’S EXHIBIT LIST
 2
        Exhibit                      Description                       Objection
 3      Number
 4          1           Order Granting the Official                     NONE
                        Committee of Unsecured Creditors for
 5
                        Summary Adjudication of Defendants’
 6                      Liability for Breach of Fiduciary
                        Duties and Accounting entered by the
 7                      Court on January 25, 2017 (Adv. No.
                        16-ap-01337, Docket No. 58)
 8
            2           Findings of Fact and Conclusions of             NONE
 9                      Law Regarding Motion by the Official
10                      Committee of Unsecured Creditors for
                        Summary Adjudication of Defendants’
11                      Liability for Breach of Fiduciary
                        Duties and Accounting entered by the
12                      Court on January 25, 2017 (Adv. No.
                        16-ap-01337, Docket No. 57)
13

14          3           Disclosure Acknowledgment and                    1, 2,3
                        Commitment to Purchase and Sell
15                      Distressed Asset Real Estate Assets
                        Agreement dated October 31, 2012
16                      [Exh. 19 to Kirk Deposition.
17          4           Cancellation and Disclosure                      1, 2, 3
18                      Acknowledgment and Commitment to
                        Purchase and Sell Real Estate Assets
19                      Agreement and Release of Deposit
                        dated March 26, 2015 [Exh. 21 to Kirk
20                      Deposition]
21          5           Personal financial statements signed            NONE
                        by Gao dated November 30, 2013,
22
                        April 1, 2014, and October 20, 2015
23                      [Exhs. 18-20 to the Gao Deposition]

24          6           Non-specific Asset Management                    1, 2, 3
                        Contracts between the Debtor and
25                      Huesing Holdings LLC dated October
                        31, 2013 through October 27, 2014
26
                        [Exh. 24 to the Kirk Deposition]
27

28

                                                   15
     DOCS_SF:94316.2 52593/002
 Case 2:16-ap-01337-ER           Doc 102 Filed 07/05/17 Entered 07/05/17 17:52:19   Desc
                                  Main Document    Page 16 of 21


 1
            7           Spreadsheets maintained among the                 1, 2
 2                      Debtor’s books and records, Bates
                        Nos. LAM00036057-059 [Exh. 17 to
 3                      Kirk Deposition]
 4          8           Email and wire instructions from Gao            NONE
                        dated 6/21/13 [Exh. 28 to the Gao
 5
                        Deposition]
 6
            9           Sincere Escrow Receipt and                       1, 2, 3
 7                      Disbursement Log dated July 10, 2013
                        [Exh. 23 to Kirk Deposition]
 8
           10           Deeds of Trust by East Heights LLC              NONE
 9                      and Green Oak Asset Management
10                      LLC in favor of Shanghai Commercial
                        Bank ($2.88M) dated 10/2/12
11
           11           Grant Deed by Green Oak Asset                   NONE
12                      Management LLC to the Mehling
                        Family Trust recorded 2/28/14
13
           12           Deed of Trust by Green Oak Asset                NONE
14
                        Management in favor of Shanghai
15                      Commercial Bank ($1.68M) dated
                        10/22/15.
16
           13           Seller’s Final Closing Statement dated         NONE
17                      November 18, 2014 [Exh. E to the
                        Complaint]
18
           14           Checks payable to Gao from the                  1, 2
19
                        Debtor and Investment Entities [Exh.
20                      15 to Gao Deposition]

21         15           Checks payable Gao from the Debtor              1, 2
                        and Investment Entities, signed by
22                      Kirk [Exh. 16 to Gao Deposition]
23         16           Additional checks payable to Gao                1, 2
24                      from the Debtor and Investment
                        Entities
25
           17           Checks payable to Gao from 88 San               1, 2
26                      Fernando LLC
27

28

                                                   16
     DOCS_SF:94316.2 52593/002
 Case 2:16-ap-01337-ER           Doc 102 Filed 07/05/17 Entered 07/05/17 17:52:19              Desc
                                  Main Document    Page 17 of 21


 1
           18           Seller’s Final Settlement Statement                      1, 2
 2                      dated September 2, 2014 [Exh. L to
                        the Complaint]
 3
           19           SinoPac Stipulation dated May 7,                         1, 2
 4                      2015 [Exh. S to the Complaint]
 5         20           Profit Sharing Agreement between the                     1, 2
 6                      Debtor and Great Vista Real Estate
                        Corp. dated October 17, 2009 [Exh. 39
 7                      to Kirk Deposition]

 8         21           Spreadsheet maintained among the                          1, 2
                        Debtor’s books and records, Bates
 9                      Nos. LAM00042386-87 [Exh. 40 to
10                      Kirk Deposition] together with wire
                        confirmations
11
           22           Mega Bank signature cards for the                        1, 2
12                      checking account of Huntington Giant
                        Capital Corporation
13

14   Objections Note: The above objections are by Defendant Lucy Gao and are numbered and defined
     as follows: 1) is an objection based on lack of foundation, 2) is an objection based on hearsay, and 3)
15   is an objection based on irrelevance.
16

17

18

19

20

21

22

23

24

25

26

27

28

                                                   17
     DOCS_SF:94316.2 52593/002
 Case 2:16-ap-01337-ER           Doc 102 Filed 07/05/17 Entered 07/05/17 17:52:19   Desc
                                  Main Document    Page 18 of 21


 1                                   THE DEFENDANTS’ EXHIBIT LIST
 2
        Exhibit                      Description                       Objection
 3      Letter
 4          A           Cancelled checks written by Lucy Gao
                        (6)
 5

 6          B           Cancelled check written by Lucy Gao
                        to JSK 23 LLC
 7
            C           Cancelled checks written by Lucy Gao
 8                      (4)
 9          D           Cancelled checks written by Lucy Gao
                        (3)
10

11          E           Statement from Mega Bank 4/30/14
                        with cancelled checks
12
            F           Cancelled checks written by Lucy Gao
13                      (3)
14          G           Cancelled checks written by Lucy Gao
                        (4)
15

16          H           East West Bank statement 4/1/15 with
                        cancelled checks
17
            I           Mega Bank account reconciliation
18
            J           MegaBank Statement 9/28/12 with
19                      cancelled checks
20
            K           Mega Bank Statement 10/31/12 with
21                      cancelled checks

22          L           Mega Bank Statement 11/28/14 with
                        cancelled checks
23
           M            Receipt for Deposit
24
            N           Promissory Note with cashier’s checks
25

26          O           Cathay Bank Statement 1/6/15 with
                        cancelled checks
27
            P           Cancelled checks, wire transfers and
28                      related documents

                                                   18
     DOCS_SF:94316.2 52593/002
 Case 2:16-ap-01337-ER            Doc 102 Filed 07/05/17 Entered 07/05/17 17:52:19   Desc
                                   Main Document    Page 19 of 21


 1                                   THE COMMITTEE’S WITNESS LIST
 2
              1.       Lucy Gao
 3
              2.       Benjamin Kirk
 4
              3.       David Golubchik, Esq.
 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                19
     DOCS_SF:94316.2 52593/002
 Case 2:16-ap-01337-ER           Doc 102 Filed 07/05/17 Entered 07/05/17 17:52:19   Desc
                                  Main Document    Page 20 of 21


 1                               THE DEFENDANT GAO’S WITNESS LIST

 2

 3            1.       LUCY GAO

 4            2.       BENJAMIN KIRK

 5            3.       VANESSA VAN HOLLAND

 6            4.       SHELBY HO

 7            5.       MARGARET CHIU

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                               20
     DOCS_SF:94316.2 52593/002
        Case 2:16-ap-01337-ER                     Doc 102 Filed 07/05/17 Entered 07/05/17 17:52:19                                      Desc
                                                   Main Document    Page 21 of 21



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
405 N. Indian Hill Blvd., Claremont, CA 91711

A true and correct copy of the foregoing document entitled (specify): JOINT PRETRIAL STIPULATION DEFENDNT
LUCY GAO will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-
2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
7/5/2017, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

William Crockett wec@weclaw.com, ksa@weclaw.com
Gail S Greenwood ggreenwood@pszjlaw.com, rrosales@pszjlaw.com
Jeremy V Richards jrichards@pszjlaw.com, bdassa@pszjlaw.com;imorris@pszjlaw.com
Timothy J Silverman tsilverman@scheerlawgroup.com
United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
Stephen R Wade srw@srwadelaw.com, reception@srwadelaw.com
James S Yan jsyan@msn.com

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 7/5/2017, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.

U.S. Bankruptcy Court
Hon. Ernest M. Robles
255 E. Temple Street, Suite 1560
Los Angeles, CA 90012                                                                       Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 7/5/2017                        Alicia Cosio                                                   /s/ Alicia Cosio
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
